UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
MEI KUM CHU, SAU KING CHUNG, and
QUN XIANG LING, individually and on
behalf of all others similarly situated,
                        Plaintiffs,                      Case No.: 21-cv-2115 (AT)

                      - against -                        DECLARATION OF MICHAEL
                                                         TAUBENFELD
CHINESE-AMERICAN PLANNING
COUNCIL HOME ATTENDANT
PROGRAM, INC.,

                       Defendant.

MICHAEL TAUBENFELD hereby declares the following pursuant to 28 U.S.C. §1746:

   1. I am a principal Fisher Taubenfeld LLP, which, along with the TakeRoot Justice,

      represents Plaintiffs in the above-captioned action, and as such I am familiar with the

      facts and circumstances of the within action to the extent set forth herein. I submit this

      declaration in support of Plaintiffs’ motion to remand

   2. Attached are the following exhibits:

          a. Exhibit 1 – The Original Complaint in this case;

          b. Exhibit 2 – The 2015 Memorandum of Agreement between Defendant and 1199;

          c. Exhibit 3 – The State Court’s April 17, 2017 Order;

          d. Exhibit 4 – The State Court’s February 25, 2019 Order;

          e. Exhibit 5 – The State Court’s February 9, 2021 Order;

          f. Exhibit 6 – Defendant’s Notice of Appeal;

          g. Exhibit 7 – The Amended Complaint in this case;

          h. Exhibit 8 – Plaintiffs’ Memorandum of Law in support of their Motion to Vacate

               the Stay;

          i.   Exhibit 9 – Defendant’s second Notice of Removal;

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3. I hereby declare under penalty of perjury that the foregoing is true and correct to the best

   of my knowledge, information and belief, and I am aware that should any of the above be

   materially false, I may be subject to a criminal penalty.


                                                 Executed on March 18, 2021
                                                 __________/s/__________________
                                                 MICHAEL TAUBENFELD




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